                     UNITED STATES DISTRICT COURT
              FOR THE EASTERN DISTRICT OF NORTH CAROLINA

                                 CASE NO. 5-18-CV-383

UBISOFT ENTERTAINMENT, S.A., and                 )
UBISOFT, INC.,                                   )
                                                 )
               Plaintiffs,                       )
                                                         COMPLAINT FOR PATENT
                                                 )
                                                            INFRINGEMENT
       v.                                        )
                                                         JURY TRIAL DEMANDED
                                                 )
YOUSICIAN OY,                                    )
                                                 )
               Defendant.                        )

       Plaintiffs Ubisoft Entertainment, S.A. and Ubisoft, Inc. (collectively, “Ubisoft”)
file this Complaint for patent infringement against Yousician OY (a.k.a. “Yousician
Ltd.” or “Yousician”), stating as follows:
                                      THE PARTIES
       1.      Plaintiff Ubisoft Entertainment, S.A., is a corporation organized and existing
under the laws of France, with a principal place of business at 28, rue Armand Carrel,
93108 Montreuil-Sous-Bois, France.
       2.      Plaintiff Ubisoft, Inc. is a California corporation with a principal place of
business at 625 3rd St., San Francisco, California.
       3.      Upon information and belief, Yousician Oy (“Yousician”) is a corporation
organized and existing under the laws of Finland, having its principal place of business at
Sitasaarenkatu 16, 00530 Helsinki, Finland.
                             JURISDICTION AND VENUE
       4.      This Complaint for patent infringement arises under the patent laws of the
United States, Title 35 U.S.C. §§ 1 et seq. This Court has jurisdiction over those claims
pursuant to 28 U.S.C. §§ 1331 and 1338.




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       5.      Upon information and belief, Yousician conducts substantial business in this
forum, including (i) at least a portion of the infringements alleged herein; and (ii)
purposefully and voluntarily placing its infringing products into the stream of commerce
with the expectation that they will be purchased by consumers in this forum; and (iii)
regularly doing or soliciting business, engaging in other persistent courses of conduct
and/or deriving substantial revenue from goods and services provided to individuals in this
District. In particular, the Yousician software is available to consumers throughout the
United States and this District, and has been downloaded by individual(s) in this District.
Therefore, this Court has personal jurisdiction over Yousician.
       6.      Venue is proper in this Court pursuant to 28 U.S.C. §§ 1391 and/or 1400.
                                FACTUAL BACKGROUND
       7.      This cause of action asserts infringement of U.S. Patent No. 9,839,852 (“the
‘852 Patent”).
       8.      Ubisoft Entertainment, S.A. develops, publishes, and distributes video
games throughout the world.          Ubisoft, Inc., a wholly owned subsidiary of Ubisoft
Entertainment located in San Francisco, California, is the developer and publisher of
Rocksmith, a revolutionary and pioneering computerized instructional guitar game. Red
Storm, a Ubisoft studio located in Cary, North Carolina, also worked on the development
of certain iterations of Rocksmith.
       9.      With over 4 million copies sold, the Rocksmith video games work with a real
guitar. Rocksmith teaches the user how to play the guitar, and dynamically adjusts the
difficulty level to the user’s skill level.
       10.     Ubisoft Entertainment is the owner of all rights, title, and interest in the ‘852
Patent, entitled “Interactive Guitar Game,” with Joseph Charles Epstein as the named
inventor. Ubisoft Entertainment has standing to sue for infringement of the ‘852 Patent,




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which was duly and legally issued on November 12, 2017, claims priority to November 21,
2008, and is attached as Exhibit A.
       11.      The ‘852 Patent discloses software for learning to play a musical instrument,
such as the guitar. The software instructs the user through fingering notations that
correspond to a song to be played, receives an audio signal corresponding to the song
played by the user, and assesses the user’s performance.           Based on that assessed
performance, the software determines a portion of the performance that should be
improved, and selectively changes the difficulty level of at least a portion of the fingering
notations presented for the song. The software further generates at least one mini-game to
improve the user’s skills.
       12.      Assessing a user’s performance for improvement and selectively changing
the difficulty level of a song based on that performance, as claimed in the ‘852 Patent, is
an improvement on the prior art that utilizes computer programming to receive and assess
audio signals from a guitar and selectively change the difficulty level to be played by the
user and/or generate a different game targeted to improve the user’s skills based on the
user’s performance.
Yousician
       13.      Yousician provides software for learning to play a musical instrument, such
as a guitar.
       14.      For example, the Yousician software is installed onto a user’s computer or
mobile device. Once installed, the computer program is operable to present an interactive
game for playing a song on an instrument, including a guitar.




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(https://yousician.zendesk.com/hc/en-us/articles/204399231-How-to-switch-between-
instruments-)
          15.   Yousician instructs players to download the Yousician computer program to
a Mac, PC, Linux, iOS, or Android device and provides instructions on how to enable the
device to receive audio input from the instrument, including acoustic or electric guitar,
ukulele and/or bass.




(https://yousician.zendesk.com/hc/en-us/articles/204738362-Getting-started-with-
Yousician-Guitar)
          16.   The Yousician computer program instructs a processor to present, on a
display device, a plurality of fingering notations corresponding to the song to be played by
a user.


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(https://yousician.zendesk.com/hc/en-us/articles/206932099-How-do-I-read-tablature-
Guitar-)
See also https://yousician.zendesk.com/hc/en-us/articles/115005075325-How-do-I-read-
tablature-Ukulele-; https://yousician.zendesk.com/hc/en-us/articles/115005198785-How-
do-I-read-tablature-Bass-; https://yousician.zendesk.com/hc/en-us/articles/201558362-
Practice-vs-Play-mode-Guitar-
      17.      The presented fingering notations may correspond to chords of a song to be
played, as depicted below.




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(https://yousician.zendesk.com/hc/en-us/articles/204741862-How-does-the-Auto-speed-
function-work-)
       18.    The Yousician computer program instructs a processor to receive an analog
or digital audio signal from the guitar when the user plays a song.




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(https://yousician.zendesk.com/hc/en-us/articles/201723651-Setting-up-your-guitar)




(https://yousician.zendesk.com/hc/en-us/articles/201723861-Can-I-plug-in-an-electric-
instrument-).

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(https://yousician.zendesk.com/hc/en-us/articles/201723851-Do-I-need-a-special-adapter-
cable-or-microphone-)


       19.    Yousician assesses the performance of the song as played by the user. For
example, Yousician determines whether the user has played the correct notes and/or chords
of a song. The note and/or chord will change color if the Yousician computer program
detects whether the user played it correctly or incorrectly.
       20.    When Yousician assesses the user’s performance of the song, it adjusts and
displays the user’s score based on whether the user plays the correct note and/or chord.
Further, when the player plays a note and/or chord, Yousician may provide the player with
an indication of whether the note was played “Perfect!”, “A bit early”, “Early”, “A bit late”,
or “Late,” as well as change the color of the note and/or chord. At the end of the
performance, the player’s final score is displayed.




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                             10
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(https://yousician.zendesk.com/hc/en-us/articles/201558472-Song-summary-screen)
      21.      Yousician further determines a portion of the performance that should be
improved.   For example, Yousician provides feedback on different “parts” of the
performance.


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(https://yousician.zendesk.com/hc/en-us/articles/201558472-Song-summary-screen)




(https://yousician.zendesk.com/hc/en-us/articles/201558362-Practice-vs-Play-mode-
Guitar-); see also https://yousician.zendesk.com/hc/en-us/articles/115005200829-


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Practice-vs-Play-Mode-Bass-; https://yousician.zendesk.com/hc/en-
us/articles/207313725-Practice-vs-Play-mode-Ukulele-;
https://yousician.zendesk.com/hc/en-us/articles/206912609-What-s-the-best-way-to-
practice-Guitar-
       22.    Based on the assessed performance, Yousician selectively changes a
difficulty level of at least a portion of the presented plurality of fingering notations
corresponding to the song. For example, the number of “lives” or “tries” that the user has
to play the notes of a song decreases when the user plays a note or chord incorrectly and
increases if the user subsequently plays notes or chords correctly. If the user gets to 0
“lives” or “tries”, the player will be instructed to try the song again or to play in Practice
mode. Changing of the difficulty level in this manner occurs based on the assessed
performance and a determined portion of the performance that should be improved.
Further, Yousician’s AutoFunction mode selectively changes the tempo or speed (i.e.,
difficulty level) of the played part or all of the song. In addition, Yousician provides the
user with the ability to play the part of the song that needs to be improved (e.g., by clicking
on the Part with the fewer than 3 gold stars from the Song Summary screen) and play that
portion of the song at a slower tempo.
       23.    Further, Yousician generates at least one mini-game different from the game
for the song being played that is targeted to improving the user's skills associated with the
performance of the determined portion.




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(https://yousician.zendesk.com/hc/en-us/articles/206912609-What-s-the-best-way-to-
practice-Guitar-); see also https://yousician.zendesk.com/hc/en-
us/articles/115005252049-What-s-the-best-way-to-practice-Ukulele-;
https://yousician.zendesk.com/hc/en-us/articles/115005254049-What-s-the-best-way-to-
practice-Bass- .




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(https://yousician.zendesk.com/hc/en-us/articles/206930639-How-guitar-syllabus-works)
See also https://yousician.zendesk.com/hc/en-us/articles/206939769-How-the-ukulele-
syllabus-works; https://yousician.zendesk.com/hc/en-us/articles/115005190525-How-
bass-syllabus-works




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(https://yousician.zendesk.com/hc/en-us/articles/208881745-How-can-I-access-the-
entire-Yousician-syllabus-)




(https://yousician.zendesk.com/hc/en-us/articles/201682901-Advancing-in-missions)




(Game Play Skill Test and Hammer & Pull Mission (Guitar Lead Level 5))

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(Game Play of Cannon in D – Full Melody (Guitar Song))
               COUNT I – PATENT INFRINGEMENT OF THE ‘852 PATENT
       24.     Ubisoft hereby re-alleges and incorporates by reference the allegations of
paragraphs 1 through 8 of this Complaint.
       25.     Yousician has infringed, and continues to infringe one or more claims of
the ‘852 Patent, including without limitation claims 1, 2, 3, 4, and 6, literally and/or under
the doctrine of equivalents, by or through making, using, importing, offering for sale, and/or
selling the Yousician game as described above during the pendency of the ‘852 Patent.
       26.     Yousician has directly infringed and continues to infringe the above-
referenced claims of the ‘852 Patent by, directly or through intermediaries and without
Ubisoft’s authority, making, using, selling, or offering to sell the Yousician game in the
United States and/or importing the Yousician game into the United States. In addition to
liability for its own independent conduct, Yousician is also vicariously liable for the
conduct of its affiliates, related entities, and users.
       27.     Further and in the alternative, Yousician has been and now is actively
inducing infringement of at least the above-referenced claims of the ‘852 Patent in violation
of 35 U.S.C. 271(b). Users of Yousician directly infringe when they use the Yousician
game in the ordinary, customary, and intended way. Yousician’s inducements include,


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without limitation and with specific intent to encourage the infringement, knowingly
inducing consumers to use the Yousician game in the United States in the ordinary,
customary, and intended way by supplying the game to consumers within the United States
and instructing such consumers (for example, through instructional materials that
Yousician provides online) how to use the Yousician game in the ordinary, customary, and
intended way.
       28.    Further, and in the alternative, Yousician has been and now is actively
contributing to infringement of the above-referenced claims of the ‘852 Patent in violation
of 35 U.S.C. 271(c). Yousician installs, configures, and sells the Yousician game for use
on a computer or mobile device, knowing that it is a component that is especially made or
adapted for use in infringement of one or more claims of the ‘852 Patent. Yousician’s
products are material components of a combination, made specifically for graphical musical
instruction in connection with a computer, and are not a staple article or commodity of
commerce suitable for substantial non-infringing use.
       29.    On information and belief, Yousician has known or should have known of
the ‘852 Patent since its issuance. For example, Yousician filed for patent(s) that were
rejected during prosecution over the ‘852 Patent family, specifically the publication of what
issued as U.S. Patent No. 9,120,016 to Epstein.
       30.    Further, on information and belief, Yousician has known of Ubisoft’s
Rocksmith game since at least the issuance of the ‘852 Patent. For example, Yousician
advertises that its game can be used with a “Rocksmith cable.”




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(https://yousician.zendesk.com/hc/en-us/articles/201723851-Do-I-need-a-special-adapter-
cable-or-microphone-)
       31.    Additionally, after the ‘852 Patent issued, but prior to filing this lawsuit,
Ubisoft notified Yousician of the ‘852 Patent and of its infringement through verbal and
written correspondence. Despite Ubisoft’s effort, Yousician has not ceased, and has instead
willfully and deliberately continued, its infringement of the claims of the ‘852 Patent.
        32.   Upon information and belief, Yousician’s infringement of the ‘852 Patent has
been, and continues to be, willful, deliberate, and intentional by continuing its acts of
infringement in reckless disregard of Ubisoft’s patent rights.
       33.    As a consequence of Yousician’s patent infringement of the ‘852 Patent,
Ubisoft has suffered and will continue to suffer harm and injury, including monetary
damages in an amount to be determined.
       34.    Upon information and belief, unless enjoined, Yousician will continue its
infringing acts, thereby causing additional irreparable injury to Ubisoft for which there is
no adequate remedy at law.

                                 PRAYER FOR RELIEF
        WHEREFORE, Ubisoft respectfully prays for the following relief:
       A.     enter judgment that Yousician and all of its subsidiaries, affiliates, officers,
              agents, servants, employees, attorneys, and their heirs, successors, and
              assigns, and all persons acting in concert or participation with it and each of
              them, infringe and have infringed the ‘852 patent;


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      B.      award Ubisoft a permanent injunction restraining Yousician and its
              subsidiaries, affiliates, officers, agents, servants, employees, attorneys, and
              their heirs successors, and assigns, and all persons acting in concert or
              participation with it and each of them, from further infringement of the ‘852
              patent;
      C.      award Ubisoft damages from Yousician adequate to compensate for
              Yousician’s infringement, including interest and costs;
      D.      award Ubisoft treble damages as a result of Yousician’s willful infringement
              of the ‘852 patent;
      E.      declare this case to be exceptional and award Ubisoft its reasonable
              attorney’s fees and costs;
      F.      grant Ubisoft such other relief as this Court deems just and proper.


                             DEMAND FOR JURY TRIAL
       Ubisoft, under Rule 38 of the Federal Rules of Civil Procedure, respectfully
demands a trial by jury of any issues triable of right by a jury.

      This the 1st day of August, 2018.

                                            /s/ Jennifer K. Van Zant
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